                 Case 2:17-cv-00327-TSZ Document 79 Filed 12/27/17 Page 1 of 4




 1                                                          THE HONORABLE THOMAS S. ZILLY

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 7
                                 UNITED STATES DISTRICT COURT
 8                              WESTERN DISTRICT OF WASHINGTON
 9                                        AT SEATTLE

10    HARMONY GOLD U.S.A., INC.,                         CASE NO. 2:17-cv-00327-TSZ
                             Plaintiff,                  SUPPLEMENTAL DECLARATION
11
             v.                                          OF JESSICA STEBBINS BINA IN
12                                                       SUPPORT OF HARMONY GOLD,
      HAREBRAINED SCHEMES LLC,                           U.S.A., INC.’S OPPOSITION TO
13    HAREBRAINED HOLDINGS, INC.,                        MOTION FOR SUMMARY
      JORDAN WEISMAN, PIRANHA GAMES                      JUDGMENT
14    INC., INMEDIARES PRODUCTIONS,
      LLC, and DOES 1–10
15                       Defendants.
                                                         NOTE ON MOTION CALENDAR:
16                                                       DECEMBER 22, 2017

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     I, Jessica Stebbins Bina, declare as follows:
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            1.       I am an attorney at Latham & Watkins LLP, attorneys for plaintiff Harmony Gold
21
     U.S.A., Inc. (“Harmony Gold”), over eighteen years of age, and am competent to testify herein.
22
     I make this declaration in support of Harmony Gold’s opposition to defendants’ motion for
23
     summary judgment. The facts set forth below are based on my personal knowledge. If called as
24
     a witness, I could and would competently and truthfully testify to these matters.
25


                                                                                     LAW OFFICES
     SUPPLEMENTAL DECL. OF STEBBINS BINA IN                                CALFO EAKES & OSTROVSKY PLLC
     SUPPORT OF HARMONY GOLD’S SURREPLY AND                                 1301 SECOND AVENUE, SUITE 2800
                                                                              SEATTLE, WASHINGTON 98101
     MOTION TO STRIKE (Case No. 2:17-cv-00327-TSZ) - 1                     TEL (206) 407-2200 FAX (206) 407-2224
                 Case 2:17-cv-00327-TSZ Document 79 Filed 12/27/17 Page 2 of 4




 1          2.       I first communicated with defendants in this matter in or around early October

 2   2017. At the time, I was not yet counsel of record for Harmony Gold. Instead, I was brought in

 3   to provide facts due to my background as counsel of record in the Harmony Gold/Tatsunoko

 4   arbitration. I understood at the time that the parties were engaged in settlement negotiations and

 5   an accompanying informal stay of discovery.

 6          3.       During the course of my early conversations with defendant Piranha’s counsel,

 7   counsel stated that they believed Harmony Gold did not possess standing to pursue its

 8   infringement claims in this matter. Counsel asked for documentation relating to Harmony

 9   Gold’s ownership claims. I provided such documentation. However, I also informed counsel

10   that there were additional third party materials that would need to be sought through discovery.

11   In this context, I explained to counsel for Piranha that it did not make sense for me to pursue

12   third party discovery (during settlement discussions and an informal discovery stay) if we could

13   reach resolution of the matter without such third party discovery.

14          4.       To the best of my recollection, I never stated or suggested that I would seek such

15   discovery only in response to a dispositive motion. Nor would I have made such a statement,

16   because I always understood that such discovery would be needed if Piranha continued to

17   challenge Harmony Gold’s standing in this case. To the contrary, my statement regarding the

18   time and expense of discovery was made in the context of what I understood to be settlement

19   discussions and an informal, agreed-upon discovery stay.

20          5.       I became counsel of record in this case at the end of October 2017.

21   Approximately one week later, on November 8, 2017, counsel for Piranha informed me that

22   Piranha intended to move for summary judgment on the issue of standing. In response, I

23   specifically informed Piranha that such a motion would be contrary to the facts as I understood

24   them, and that I intended to use both formal and informal means to try to obtain the third party

25   evidence needed to rebut Piranha’s argument.


                                                                                      LAW OFFICES
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                 Case 2:17-cv-00327-TSZ Document 79 Filed 12/27/17 Page 3 of 4




 1          6.       On or about November 8, 2017, I also specifically told Piranha’s counsel that I

 2   would seek discovery pursuant to Rule 56(d) in response to any summary judgment motion. I

 3   have consistently told Piranha’s counsel that, should they continue to challenge Harmony Gold’s

 4   standing in this case, Harmony Gold would need to seek—and would seek—third party

 5   discovery from relevant third parties in Japan.

 6          7.       I declare under penalty of perjury under the laws of the State of Washington that

 7   the foregoing is true and correct.

 8          Signed this 27th day of December, 2017, at Los Angeles, California.

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                                           By: s/ Jessica Stebbins Bina
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                                              Jessica Stebbins Bina
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                                                                                     LAW OFFICES
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              Case 2:17-cv-00327-TSZ Document 79 Filed 12/27/17 Page 4 of 4




 1                                   CERTIFICATE OF SERVICE

 2          The undersigned hereby certifies that on December 27, 2017, I electronically filed the

 3   foregoing with the Clerk of the Court using the CM/ECF system, which will send notification of

 4   such filing to the CM/ECF participants.

 5          DATED this 27th day of December, 2017.
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 7                                                              s/ Mary J. Klemz
                                                                Mary J. Klemz
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